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                 EXHIBIT B
{03614133 / 1}
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 8                               UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10   GRANT SAXENA,                                             Case No.: 2:22-cv-02126-CDS-BNW
11                  Plaintiff,
      vs.                                                 DECLARATION OF MICHAEL
12                                                        EDWARDS, ESQ. IN SUPPORT OF
     JEZRAEL MARTINEZ-HERNANDEZ                           DEFENDANTS’ EMERGENCY MOTION
13                                                        TO STRIKE AND REQUEST SANCTIONS
14   JASON J. HEANEY

15   DAVID BORUCHOWITZ
16
     NYE COUNTY SHERIFF OFFICE
17
                   Defendants.
18

19           I, MICHAEL M. EDWARDS, ESQ. declare as follows:

20           1.     I am an attorney with the law firm of Freeman Mathis & Gary, LLP, counsel for

21   Defendants Jezrael Martinez-Hernandez, Jason J. Heaney, David Boruchowitz, and the Nye

22   County Sheriff’s Office (collectively, “Defendants”) in the above-captioned matter.

23           2.     I make this Declaration in support of Defendants’ Emergency Motion to Strike and

24   Request for Order to Show Cause (the “Motion”).

25           3.     I have personal knowledge of the facts stated in this Declaration and if called upon

26   to do so, would testify competently thereto.

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 1          4.      This Motion is filed on an emergency basis. On December 27, 2023, Plaintiff filed

 2   a Proposed Discovery Plan and Scheduling Order (“DPSO”) with this Court. See ECF No. 51.

 3   Therein, Plaintiff falsely asserted that Defendants would not participate in a Fed. R. Civ. P. 26(f)

 4   conference. The DPSO was filed without Defendants’ knowledge or consent. Given the foregoing,

 5   the proposed DPSO should not be approved by this Court and should be stricken.

 6          5.      Good cause exists to hear this Motion on an emergency basis. Despite this action

 7   having been filed on December 22, 2022, the parties still do not have a proper discovery plan and

 8   scheduling order due to Plaintiff’s continuous provision of false contact information and adamant

 9   refusal to communicate with Defendants as required pursuant to Fed. R. Civ. P. 26(f) and Local

10   Rule 26-1.

11          6.      Defendants filed a Motion to Dismiss or Alternatively, Motion for Compel and for

12   Sanctions on August 1, 2023, as well as a reply in support thereof, outlining Plaintiff’s actions that

13   have affirmatively prevented the submission of a discovery plan and scheduling order, but that

14   motion remains pending before this Court and the issues outlined therein remain unresolved.

15          7.      It is not practicable to conduct a meet and confer with Plaintiff regarding such

16   issues as he has refused to communicate with Defendants for many months. Plaintiff has failed to

17   provide a working phone number or email address to Defendants, and prior attempts to

18   communicate with him have resulted in threats against counsel. Despite this Court’s Order on

19   December 12, 2023 (ECF No. 50), which mandated that Plaintiff provide proper contact

20   information to Defendants and to communicate with them regarding the proposed discovery plan

21   and scheduling order, Plaintiff still refuses to do so.

22          8.      On December 14, 2023, our office emailed Plaintiff in an attempt to conduct the

23   necessary meet and confer, but Plaintiff has refused to respond.

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 1          9.     To date, Plaintiff has made no efforts to set up the conference required under Fed.

 2   R. Civ. P. 26, nor has he otherwise communicated with Defendants regarding the proposed

 3   discovery plan and scheduling order.

 4          10.    I declare under penalty of perjury that the foregoing is true and correct.

 5          DATED this 29th day of December, 2023.

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                                                           /s/ Michael M. Edwards
 7                                                        MICHAEL M. EDWARDS, ESQ.
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